
*556OPINION.
Smith
: The only question raised by these appeals is whether the taxpayers were affiliated for the fiscal year ended January 31, 1921. They were affiliated if substantially all of the stock of both was “ owned or controlled by the same interests.” Section 240 (c) of-the-Revenue Act of 1921.
It may be deduced from the findings of fact that the shares of stock of the two taxpayers were owned at the beginning of the-taxable year as follows:
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*557The estate of E. D. Jordan was administered by three trustees, one of whom was Robert Jordan, who also was a remainderman of the estate and who came into absolute ownership of his interests in November, 1920. The estate of E. J. Mitton was likewise administered by three trustees, one of whom was George W. Mitton, a son of E. J. Mitton. He was one of five children of E. J. Mitton and had a one-fifth beneficial interest in the. estate of his father. The 10 per cent minority interest in Jordan Marsh Co. was owned by W. F: Watters. He had, in 1920, long been in the employ of that company and his stock was held under the provisions of the agreement of May 17, 1910, the material portions of which are set forth in the findings of fact. The minority interest in the Avon Street Trust from February 1, to November 4, 1920, was owned one-half by May S. Jordan, the widow of E. D. J ordan, and mother of Robert Jordan, and D. Jordan Robinson. The other one-half was owned by D. Jordan Robinson. Upon the death of May S. J ordan, her one-half of the minority interest passed to her executor for the benefit of I). Jordan Robinson.
The record is not satisfactory as to whether Robert Jordan had any actual control over the stock held by the estate of E. D. Jordan or by his mother or sister. It is in evidence, however, that at an adjourned meeting of the stockholders of Jordan Marsh Co. held on May 5, 1922, Robert Jordan represented himself and the estate of E. D. Jordan; at the same meeting George W. Mitton represented and voted the stock held by the estate of E. J. Mitton and, from his affidavit admitted in evidence, it appears that he habitually voted the stock held by the estate. It is further in evidence that the records of Jordan Marsh Co. show that no dissenting vote has ever been cast by any stockholder, either at an annual meeting or a meeting of the board of directors.
What constitutes ownership or control “ by the same interests ” was discussed in Appeal of Rishell Phonograph Co., 2 B. T. A. 229. We have held that blood relationship is a factor to be taken into consideration in determining whether the shares of stock in different corporations are owned or controlled by the same interests. Appeal of Wright Cake Co., 2 B. T. A. 58; Appeal of Midland Refining Co., 2 B. T. A. 292; Appeal of Edward Rose Co., 2 B. T. A. 341. In the instant appeal, 90 per cent of the stock of Jordan Marsh Co. and 100 per cent of the stock of the Avon Street Trust was owned by the Jordans and Mittons.
